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                       IN THE UNITED STATES DISTRICT COURT
              FOR THE DISTRICT OF MARYLAND, SOUTHERN DIVISION


J.O.P., et al.,
                                                     REDACTED
                  Plaintiffs,
                                                     Civil Action No. 8:19-CV-01944-SAG
        v.

U.S. DEPARTMENT OF HOMELAND
SECURITY, et al.,

                  Defendants.



                  DECLARATION OF MARISA TILLMAN IN SUPPORT OF
                      CLASS COUNSEL’S EMERGENCY MOTION
                      FOR A TEMPORARY RESTRAINING ORDER

I, Marisa Tillman, declare:

    1. I am an attorney licensed to practice before the courts of the State of Maryland and the

State of Texas. I have personal knowledge of the facts in this declaration and, if called upon to

testify, I could and would testify competently to the facts herein.

    2. I make this declaration in support of Class Counsel’s Emergency Motion for a Temporary

Restraining Order.

    3. I am a Senior Attorney with the Immigration Legal Services program at Catholic

Charities of the Archdiocese of Washington. The Immigration Legal Services team at Catholic

Charities of the Archdiocese of Washington represents noncitizens who reside in Maryland,

Virginia, and Washington, D.C. on immigration matters, trains lawyers to provide pro bono

services, and educates community groups on the latest immigration issues. Many of our current

and past clients are unaccompanied children.




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   4. I represent J.O.P. Class Member                                               in his

immigration proceedings.

   5.
        -      was born in Venezuela on




-  6. After federal immigration officials determined
                                                       -     to be an “Unaccompanied Alien

Child” (“UAC”), they transferred him to the custody of the Office of Refugee Resettlement

(“ORR”), the federal agency responsible for the care of UACs. After spending several weeks in a

shelter for children run by ORR,
                                   -
1, ORR Verification of Release Form (

   7.
                                        was released to his mother’s care in

                                                    ).
                                                                               -         . Exhibit



                                               , I helped him file an asylum application (Form

I-589) with U.S. Citizenship and Immigration Services (“USCIS”). Shipping confirmation

reflects that the application was delivered to USCIS on December 3, 2024, after he had reached

18 years of age. USCIS subsequently issued
                                             -      a receipt notice. Exhibit 2, USCIS Asylum

Application Receipt Notice (reflecting December 12, 2024 receipt date).
                                                                          -      ’s asylum

application remains pending with USCIS, and USCIS has not yet scheduled an asylum interview.

   8. On December 23, 2024, I filed a motion to dismiss
                                                        -        ’s removal proceedings based

on the pending asylum application with USCIS, which DHS did not oppose. An Immigration

Judge at the Hyattsville Immigration Court dismissed
                                                       -    ’s removal proceedings on January

6, 2025 based on his asylum application being pending with USCIS and because he is a J.O.P. v.

DHS class member. DHS did not appeal the dismissal of
                                                        - -    ’s removal proceedings.

   9. Baltimore Immigration and Customs Enforcement (“ICE”) detained

of employment, a hair salon in Washington, D.C., on March 19, 2025.
                                                                                    at his place




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    10. After - 's detention, I info1med a Baltimore ICE officer that -               had a pending

asylum application with USCIS and is a J O.P. v. DHS class member. The Baltimore ICE officer

said that they planned to place -      into expedited removal proceedings. Then, on March 20,

2025, Baltimore ICE infonned me that instead ICE would "reopen" his proceedings in

immigration comt. However, that same day Baltimore ICE transfeITed-             to Winn

CoITectional Center in Oakdale, Louisiana and later info1med him that they planned to remove

him.

    11. I communicated with J O.P. v. DHS class counsel about my fears that ICE would remove

-       and they raised my concerns with Defendants on March 21, 2025.

    12. On March 25, 2025, DHS re-instituted removal proceedings against_              , this time in

the Oakdale, Louisiana Immigration Comt , charging the same removal grounds of being present

in the United States without being admitted or paroled as they had charged in the prior dismissed

proceedings. I have asked ICE to release _       , but they have denied him release and opposed

-      ' s request to the Immigration Judge that a bond be set, as described below.

    13. I filed a 72-page bond motion in the Immigration Comt in Oakdale. At th

bond hearing, the ICE attorney alleged that -        is a Tren de Aragua member. The ICE

attorney based this argument on - tattoos, t-shi1t with an Air Jordan logo, and the fact

that he allegedly was speaking with another Venezuelan male detainee while he was detained in

the Baltimore ICE holding room. The ICE attorney also alleged without providing any evidence

that they have a "somce of info1mation" that -        was involved in crimes in Caracas,

Venezuela, a place where I understand from - that he has never lived.



                                                                              In reply, I filed 121




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pages of argument and evidence to rebut ICE 's allegations. The Immigration Judge denied

-       a bond based on ICE 's allegations.

    14. On April 14, 2025, ICE transfen ed-          to Bluebonnet Detention Facility in Anson,

Texas. I am concerned that ICE plans to remove -          to El Salvador. The Venezuelan men

who were removed to El Salvador were detained in Texas before ICE sent them to El Salvador

and that is where ICE has moved-          . For these reasons, I fear that ICE transfened-

to Bluebonnet in order to stage him for removal to El Salvador under the Alien Enemies Act.

    15. I suppo1t Class Counsel's motion before this Comt for leave to proceed under a

pseudonym and thereby protect the identity and sensitive personal info1mation of_            ,a

young person seeking asylum. I fear that -         may face retaliato1y harm in the United States

given publicly reported allegations that all Venezuelans removed to El Salvador are dangerous

criminals and pervasive anti-immigrant rhetoric. I also fear that if-      is removed to El

Salvador, he Inight face retaliato1y haim both for being presumed to be a dangerous criminal and

for exercising his rights as a J O.P v. DHS class member.



I declare under penalty of pe1jmy that the foregoing is tme and conect.

Executed on April 16, 2025 in Silver Spring, Maiyland.




                                      Mai·isa Tillman
                                      Catholic Chai·ities of the Archdiocese of Washington
                                      12247 Georgia Avenue
                                      Silver Spring, MD 20902




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